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8                         UNITED STATES DISTRICT COURT

9                        EASTERN DISTRICT OF CALIFORNIA

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12   UNITED STATES OF AMERICA,               No. 2:19-CR-21 WBS
13                Plaintiff,

14        v.                                 MEMORANDUM AND ORDER RE:
                                             MOTION FOR NEW TRIAL
15   BRIAN D. BELAND and DENAE A.
     BELAND,
16
                  Defendants.
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20             Defendants Brian and Denae Beland were convicted on one

21   count of obstruction of an IRS investigation under 26 U.S.C. §

22   7212(a), and Brian Beland was convicted on three counts of filing

23   a false tax return under 26 U.S.C. § 7206(1).         Defendants now

24   move for a new trial because the lead prosecutor, Assistant U.S.

25   Attorney Veronica Alegria (“AUSA Alegria”), did not disclose that

26   she had applied for a home loan through Mr. Beland in March 2020

27   and because of the possibility that AUSA Alegria was prejudiced

28   against the Belands “due to the failed business relationship”
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1    between AUSA Alegria and Mr. Beland.       (Docket Nos. 182, 186.)

2              Under Federal Rule of Criminal Procedure 33(a), a

3    “court may vacate any judgment and grant a new trial if the

4    interest of justice so requires.”       In evaluating a motion for a

5    new trial under Rule 33, “[t]he court is not obliged to view the

6    evidence in the light most favorable to the verdict, and it is

7    free to weigh the evidence and evaluate for itself the

8    credibility of the witnesses.”      United States v. Kellington, 217

9    F.3d 1084, 1097 (9th Cir. 2000).        The burden of justifying a new

10   trial rests with the defendant, United States v. Endicott, 869

11   F.2d 452, 454 (9th Cir. 1989), and “[a] motion for new trial is

12   directed to the discretion of the district judge,” United States

13   v. Pimentel, 654 F.2d 538, 545 (9th Cir. 1981).         Accord

14   Kellington, 217 F.3d at 1097 (district court’s decision to grant

15   or deny a new trial is reviewed for abuse of discretion).         While

16   the burden on a motion for new trial is not as demanding as that

17   for a motion for acquittal, such motions are generally disfavored

18   and should only be granted in exceptional cases.         See United

19   States v. Del Toro-Barboza, 673 F.3d 1136, 1153 (9th Cir. 2012).

20             Rule 33 explains that “[a]ny motion for a new trial
21   grounded on any reason other than newly discovered evidence must

22   be filed within 14 days after the verdict or finding of guilty.”

23   Fed. R. Cr. P. 33(b)(2).     Because defendants were convicted on

24   March 17, 2023, and their motions were filed on July 11, 2023,

25   almost four months later, their request for a new trial, to the

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1    extent it is based on any ground other than newly discovered

2    evidence, is barred.1

3              To prevail on a Rule 33 motion for a new trial based on

4    newly discovered evidence, a defendant must show that (1) the

5    evidence was newly discovered; (2) the failure to discover the

6    evidence sooner was not the result of a lack of diligence on the

7    defendant’s part; (3) the evidence is material to the issues at

8    trial; (4) the evidence is neither cumulative nor merely

9    impeaching; and (5) the evidence indicates that a new trial would

10   probably result in acquittal.      United States v. Harrington, 410

11   F.3d 598, 601 (9th Cir. 2005) (quoting United States v. Kulczyk,

12   931 F.2d 542, 548 (9th Cir. 1991)).

13             Here, the court assumes that the evidence of AUSA

14   Alegria’s prior interactions with Mr. Beland was newly discovered

15   and not the result of a lack of diligence.2        Even with these

16   assumptions, defendants’ motion must be denied.         First,

17   defendants make no argument that evidence of AUSA Alegria’s

18   purported conflict is material or relevant to the issues at

19   trial.   Whether Alegria was disinterested or had some sort of

20   vendetta against the Belands based on her failed mortgage
21   application has no bearing on the ultimate issue of the Belands’

22   guilt, the credibility of any witnesses, or any other issue at

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          1    A motion for new trial based on newly discovered
24   evidence must be filed within three years after the verdict or
     finding of guilty. Fed. R. Cr. P. 33(b)(1).
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          2    The Belands state that their motions for new trial are
     based on newly discovered evidence because they did not discover
27   until recently that AUSA Alegria had applied for a mortgage
     through Brian Beland. (Docket No. 182 at 3; Docket No. 186 at
28   2.)
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1    trial.   Such conclusion is bolstered by the fact that AUSA

2    Alegria was not involved in the initial investigation, the

3    indictment, or the prosecution of this case for its first two

4    years, and that she had co-counsel during most, if not all, of

5    her time on the case.

6              Second, evidence of the purported conflict does not

7    show that a new trial would probably result in acquittal.

8    Defendants have not explained how a new trial would be conducted

9    differently and why they would not likely be convicted on all

10   counts once again.    The court’s own observation of this case was

11   that both the government attorneys and defense counsel have

12   vigorously advocated their positions, without any indication of

13   impropriety, throughout the case, including during trial and also

14   during the multi-day evidentiary hearing on the Belands’ motion

15   to dismiss.   The Belands identify nothing that happened at trial,

16   or before or after, that could have been a result of AUSA

17   Alegria’s purported “ax to grind.”       The court also notes that it

18   already found there was sufficient evidence to convict the

19   Belands when it denied their motions for judgment of acquittal

20   under Federal Rule of Criminal Procedure 29.         (See Docket Nos.
21   164, 178.)

22             Moreover, even applying the standards for a motion to

23   disqualify, rather than for a motion under Rule 33, the court

24   would still deny the motion.      The Supreme Court has discussed the

25   need for a “disinterested prosecutor.”        See Young v. United

26   States ex rel. Vuitton et Fils S.A., 481 U.S. 787, 807-10 (1987).
27   However, “disinterested” in this context does not mean that the

28   prosecutor has no interest in the outcome of the case.            See,
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1    e.g., United States v. Kahre, 737 F.3d 554, 573-74 (9th Cir.

2    2013) (noting that Young presented a narrow ruling regarding the

3    conflicts of interest presented by private attorneys representing

4    their private clients while also prosecuting contemnors).         Proof

5    of a conflict must be clear and convincing to justify removal of

6    a prosecutor from a case, and defendants must demonstrate

7    prejudice from the potential conflict of interest.          Id. at 574.

8               The Ninth Circuit’s decision in United States v.

9    Lorenzo, 995 F.2d 1448 (9th Cir. 1993), is instructive on this

10   issue.   There, defendants were convicted of a scheme which

11   involved, among other things, using federal income tax forms as a

12   means of retaliating against others and also to receive tax

13   refunds.   One defendant used this scheme against the United

14   States Attorney for the District of Hawaii and an Assistant

15   United States Attorney who had handled a civil foreclosure action

16   against him.   The defendants argued that because the United

17   States Attorney and several assistants were “victims” and

18   testified as witnesses at trial, the district court should have

19   disqualified the entire United States Attorney’s Office.          Id. at

20   1448-52.
21              The Ninth Circuit affirmed, noting, among other things,

22   that (1) the United States Attorney’s Manual did not require

23   disqualification, as the Manual “is not intended to, does not,

24   and may not be relied upon to create any rights, substantive or

25   procedure, enforceable by any party in any matter civil or

26   criminal”; and (2) the defendants had not shown actual prejudice
27   in part because there was no suggestion that the charges were

28   brought because of the victimization of the United States
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1    Attorney himself or that the office did not exercise its

2    discretionary function in an “even-handed manner.”          Id. at 1452-

3    53.

4              Similarly, here, the possibility that the United States

5    Attorney’s Manual would counsel assigning a different prosecutor

6    to the case is not a ground for disqualification of AUSA Alegria

7    or for granting a new trial.      It is the United States Attorney,

8    not this court, who is constitutionally and statutorily charged

9    with the responsibility of determining who shall represent the

10   United States in the courts of this district, and the court will

11   not second-guess that decision.

12             Nor have the Belands shown actual prejudice because (1)

13   there can be no contention that charges brought before AUSA

14   Alegria’s employment with the U.S. Attorney’s Office for the

15   Eastern District of California were the result of her

16   interactions with Mr. Beland before her assignment to the case,

17   and (2) there is no allegation of how this case would be

18   prosecuted any differently by another prosecutor.

19             AUSA Alegria acknowledges in her Declaration that she

20   and her husband interacted with Brian Beland by name through
21   emails, texts and phone calls for a ten-day period in March of

22   2020 in connection with their application for a mortgage to

23   acquire their new home, and that Brian Beland actually found a

24   mortgage for them, although it eventually “fell through.”         Yet,

25   she maintains that from January of 2021 until June of 2023 she

26   did not remember having any personal interaction with him.          The
27   court will accept her representations, as incredible as they may

28   seem, as an officer of the court.       Moreover, even if she did
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1    recall her interactions with Mr. Beland at the time she was

2    prosecuting this case, it would not warrant a new trial based

3    upon any purported conflict of interest or appearance of a

4    conflict of interest.

5               IT IS THEREFORE ORDERED that defendants’ motions for

6    new trial (Docket Nos. 182, 186) be, and the same hereby are,

7    DENIED.

8    Dated:    August 8, 2023

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